                20-11318-shl
     Fill in this                      Doc
                  information to identify your1case:
                                                  Filed    05/29/20        Entered 05/29/20 14:40:20                    Main Document
                                                                         Pg 1 of 6
     United States Bankruptcy Court for the:

     ____________________
     Southern              District
              District of New       of _________________
                                 York  (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔
                                                            
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                                         Check if this is an
                                                               Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        John  Barrett Inc.
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          John  Barrett Salon at Bergdorf Goodman
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               36 E 57th Street                                         _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               New York                      NY    10022
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               New York County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)               ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
              20-11318-shl              Doc 1     Filed 05/29/20          Entered 05/29/20 14:40:20                       Main Document
                                                                        Pg 2 of 6
                John Barrett Inc.
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name


                                           A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           
                                           ✔ None of the above



                                           B. Check all that apply:
                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http://www.naics.com/search/ .
                                                _________

8.    Under which chapter of the           Check one:
      Bankruptcy Code is the                Chapter 7
      debtor filing?
                                            Chapter 9
                                           
                                           ✔ Chapter 11. Check all that apply:

                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       A debtor who is a “small business                        recent balance sheet, statement of operations, cash-flow statement, and federal
       debtor” must check the first sub-                        income tax return or if any of these documents do not exist, follow the procedure in
                                                                11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                      
                                                            ✔
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                          Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
       “small business debtor”) must                            statement of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                            Chapter 12
9.    Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a                             Mezz57th LLC                                                      Common ownership
      business partner or an                Yes.     Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                                  Bankr S.D.N.Y.
                                                      District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________

     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
            20-11318-shl             Doc 1         Filed 05/29/20          Entered 05/29/20 14:40:20                       Main Document
                                                                         Pg 3 of 6
              John Barrett Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                  Number        Street

                                                                                  ____________________________________________________________________

                                                                                  _______________________________________       _______     ________________
                                                                                  City                                          State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name       ____________________________________________________________________

                                                               Phone              ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million
                                                                              ✔
                                                                                                                         $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
             20-11318-shl            Doc 1        Filed 05/29/20             Entered 05/29/20 14:40:20                       Main Document
                                                                           Pg 4 of 6
               John Barrett Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000
                                            ✔
                                                                                 $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05/29/2020
                                                Executed on _________________
                                                            MM / DD / YYYY


                                               _____________________________________________               John Barrett
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       President
                                                Title _________________________________________




18.   Signature of attorney
                                                       /s/ Vincent J. Roldan
                                                _____________________________________________              Date         05/29/2020
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Vincent Roldan
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Ballon Stoll Bader & Nadler PC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                729 Seventh Avenue 17 Floor
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                New York
                                                ____________________________________________________            NY             10019
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                2125757900
                                                ____________________________________                              vroldan@ballonstoll.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                2935302                                                         NY
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
 20-11318-shl        Doc 1      Filed 05/29/20       Entered 05/29/20 14:40:20   Main Document
                                                   Pg 5 of 6



BALLON STOLL BADER & NADLER, P.C.
729 Seventh Avenue
New York, NY 10019
Telephone: (212) 575-7900
Facsimile: (212) 764-5060
Vincent J. Roldan
vroldan@ballonstoll.com

Proposed Attorneys for Debtor

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
In Re:                                                         Chapter 11

         JOHN BARRETT INC.                                     Case No. ____

                                    Debtor
-------------------------------------------------------X
               STATEMENT REGARDING AUTHORITY TO FILE PETITION

        The undersigned, being the sole shareholder of John Barrett Inc. a New York corporation
(the “Corporation”), does hereby consent to the actions described below, and such actions shall
constitute actions duly adopted, taken and authorized by the sole shareholder of the Corporation
as of May 28, 2020:

       WHEREAS it is in the best interest of the Corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to chapter 11 of title 11 of the United States Code.

       Now therefore be it resolved, that John Barrett, President of this Corporation, is
authorized and directed to execute and deliver all documents necessary to file a chapter 11
voluntary bankruptcy case on behalf of the Corporation;

       Be it further resolved that John Barrett, President of this Corporation, is authorized to
appear in all bankruptcy proceedings on behalf of the Corporation, and to otherwise do and
perform all acts and deeds and to execute and deliver all necessary documents on behalf of the
Corporation in connection with such bankruptcy case;

        Be it further resolved that John Barrett, President of this Corporation, is authorized and
directed to employ Ballon Stoll Bader & Nadler P.C. as attorneys to represent the Corporation in
such bankruptcy case;

        Be it further resolved, that the John Barrett, President of this Corporation be, and he
hereby is, authorized, directed and empowered, in the name and on behalf of the Corporation, to
execute, acknowledge, seal and/or deliver all such other documents, instruments, agreements and
certificates, to pay all such fees and to take all such other actions, as he may determine to be

                                                           1
 20-11318-shl     Doc 1    Filed 05/29/20     Entered 05/29/20 14:40:20        Main Document
                                            Pg 6 of 6



necessary or desirable to effect the purposes of the foregoing resolutions and/or the transactions
and actions contemplated thereby, the execution, acknowledgment, seal and/or delivery of such
documents, instruments, agreements and certificates, the payment of such fees and the taking of
such other actions to be conclusive evidence of such determination; and

        Be it further resolved, that any and all other actions heretofore taken by John Barrett,
President of this Corporation, or by any other officer or any director or authorized agent of the
Corporation, to execute and deliver any of the agreements authorized by the foregoing
resolutions, or to take any of the actions authorized by the foregoing resolutions, are hereby
approved, ratified and confirmed in all respects.

        In witness whereof, the undersigned has executed this unanimous consent as of May ___,
2020.

Dated: May ___, 2020
       New York, New York

                                                    John Barrett, President




                                                2
